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FTB:AP
F. #2022R00795

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

                 - against -                             Docket No. 22–CR-473 (DLI)

KARA STERNQUIST

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - -X




                 GOVERNMENT’S MEMORANDUM OF LAW IN OPPOSITION
                      TO THE DEFENDANT’S MOTION TO DISMISS




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                               PRELIMINARY STATEMENT

               The United States respectfully submits this memorandum of law in opposition

to the motion to dismiss the indictment (the “Motion”) filed by the defendant Kara Sternquist

on May 30, 2023. (ECF No. 74). The defendant is charged with several felony counts,

including possessing a firearm after having been previously convicted of a felony in violation

of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2). The defendant seeks

dismissal of the indictment against her, arguing that the statutory dispossession of individuals

convicted of non-violent felonies violates her Second Amendment right to keep and bear

arms in the wake of the Supreme Court’s decision in New York State Rifle & Pistol

Association v. Bruen, 142 S. Ct. 1525 (2022). For the reasons set forth below, the Motion

should be denied.

I.     BACKGROUND

               On April 11, 2007, the defendant pleaded guilty in the Southern District of

Ohio to producing false identification documents in violation of 18 U.S.C. §§ 1028(a)(1),

(b)(1)(A) (identity theft). See 07-CR-033 (WHR), S.D. Ohio. 1 As part of a plea agreement

to an information, the defendant stipulated to a statement of facts that admitted the following

in relevant part:

               At [a] residence, MICHAEL STERNQUIST manufactured and
               produced at least 15 identification cards and authentication
               features, including, among others, a counterfeit United States
               Department of Defense identification and counterfeit driver
               licenses from the states of Illinois, California, and Texas. In
               order to manufacture the identification cards, MICHALE
               STERNQUIST used authentication features and equipment


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        At the time of her prior convictions, the defendant used the name Michael J.
Sternquist. The defendant identifies as female, and her legal name is now Kara Sternquist.
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               which he had purchased for that purpose using the internet,
               primarily the e-Bay website. MICHAEL STERNQUIST used
               official names, seals and other authentication features to make
               the cards appear legitimate. MICHAEL STERNQUIST
               received the authentication features and equipment designed and
               suited for making the identification cards through the United
               States Postal Service or private or commercial interstate carriers
               at addresses he had provided the seller over the internet.

On July 11, 2007, the defendant was sentenced to 12 months’ imprisonment followed by

three years of supervised release in connection with that conviction.

               Three years later, on June 30, 2010, the defendant pleaded guilty to an

information in the District of New Jersey to making and selling computerized templates for

producing fake identification documents, in violation of 18 U.S.C. §§ 1028(a)(5), (b)(3)(c)

(identity fraud). See 10-CR-432 (FLW), D.N.J. The complaint against the defendant alleged

that upon execution of a search warrant at the defendant’s residence, law enforcement agents

recovered, among other things, specialty paper used in the manufacture of identity

documents, acrylic and UV inks used in the production of identification documents, cutting

implements, lamination pouches and color print-outs of New York drivers’ licenses with the

identifying information of other individuals. The complaint also alleged that agents

connected the defendant to a Gmail email address, which she used to communicate with

others regarding the sale and potential sale of digital templates for various state drivers’

licenses, as well as digital templates for federal law enforcement and New York City Police

Department credentials.

               On October 8, 2010, the defendant was sentenced to 27 months’ imprisonment

followed by three years of supervised release in connection with that conviction. After her

release from prison, the defendant relocated to New York.



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              On June 19, 2021, the defendant was arrested in Manhattan and later charged

by New York state prosecutors with criminal mischief in the second degree, a violation of

N.Y. Penal Law § 145.10. While state charges were pending, officers of the U.S. Customs

and Border Protection intercepted several international mail parcels at John F. Kennedy

International Airport addressed to the defendant’s home. These packages, shipped from

various locations in China, contained fraudulent badges purporting to belong to various

government agencies, including the Environmental Protection Agency, the U.S. Marshal’s

Service, and the U.S. Department of State.

              On September 14, 2022, federal agents executed a search warrant at the

defendant’s home. They found dozens of additional counterfeit badges, fake passports,

counterfeit seals, military identification cards, and stolen credit cards. During the execution

of the warrant, agents recovered 23 firearm-related pieces of equipment, which included 15

suppressors (silencers) and 8 items that qualified as “firearms” for purposes of section

922(g)’s prohibition. One of those firearms qualified as a “machine gun,” as defined by 18

U.S.C. § 921(a)(24).

              On October 17, 2022, a federal grand jury sitting in the Eastern District of

New York indicted the defendant on multiple felony counts, including wrongfully procuring

government seals in violation of 18 U.S.C. § 1017; unauthorized possession of badges and

identification cards in violation of 18 U.S.C. § 701; and being a felon in possession of a

firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). The defendant now brings this

motion to dismiss the § 922(g)(1) felon-in-possession count, arguing that it violates her

Second Amendment right to keep and bear arms.




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II.    ARGUMENT

              The defendant argues that the application of § 922(g)(1)’s prohibition on

possession of firearms by individuals convicted of non-violent felonies violates the Second

Amendment. This argument fails on several grounds.

              First, the constitutionality of the provision is supported by well-established

Second Circuit precedent that has directly upheld the constitutionality of § 922(g)(1), see,

e.g., United States v. Bogle, 717 F.3d 281 (per curium) (2d Cir. 2013), as well as several

opinions from the Supreme Court that discuss them approvingly. See, e.g., District of

Columbia v Heller, 554 U.S. 570, 626-27 (2008). None of these cases were disturbed or

undermined by Bruen and most post-Bruen lower courts have applied them as such. See,

e.g., United States v. Jackson, 69 F.4th 495, 502 (8th Cir. 2023).

              Next, a plethora of examples from within the nation’s “historical tradition of

firearm regulation,” Bruen, 142 S. Ct. at 2126, provide support for Congress’s decision to

restrict felons from possessing firearms. Early state legislatures routinely forbid certain

groups from possessing arms, usually based on the perception that the groups threatened

public order and stability, easily satisfying the historical requirement set out in Bruen. The

defendant’s claims otherwise are conjectural, the result of an overly narrow inquiry that fails

to view the absence of explicit statutory dispossession within the historical context that

Bruen demands. See id. at 2133.

              The defendant has twice been convicted of serious felonies and is currently

facing additional felony charges. She is not a “law-abiding, responsible citizen,” id. at 2156,

and federal law does not permit her to own a weapon. The Second Amendment does not




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offer her relief. Because the prohibitions set out in § 922(g)(1) are supported by a long line

of precedent as well as a number of historical analogues, the Court should deny the Motion.

       A.     Both the Second Circuit and the Supreme Court have repeatedly confirmed
              that Section 922(g)(1) is constitutional, a conclusion not disturbed by Bruen.

              The Second Amendment provides that “[a] well regulated Militia, being

necessary to the security of a free State, the right of the people to keep and bear Arms, shall

not be infringed.” U.S. Const. Amend. II. This Amendment protects the right of law-abiding

citizens to keep arms “in defense of hearth and home.” Heller, 554 U.S. at 635; see also

McDonald v. City of Chicago, 561 U.S. 742, 786 (plurality opinion) (2010). However, “like

most rights, the right secured by the Second Amendment is not unlimited” and is enjoyed

only by “law-abiding, responsible citizens.” United States v. Bryant, 711 F.3d 364, 369 (2d

Cir. 2013) (quoting Heller, 554 U.S. at 626, 635); see also Robertson v. Baldwin, 165 U.S.

275, 281 (1897) (endorsing certain restrictions on the right to bear arms). So long as it works

within the constitutional bounds of the Second Amendment, the government may regulate

the possession of weapons. See McDonald, 561 U.S. at 786 (“the right to keep and bear

arms is not a right to keep and carry any weapon whatsoever in any manner whatsoever and

for whatever purpose.” (quoting Heller, 554 U.S. at 626)).

              Accordingly, over the years, Congress has seen fit to enact a number of

provisions that lawfully limit the possession of weapons by certain individuals. The

provision at issue in this case prohibits the possession of guns or ammunition by any

individual “who has been convicted in any court of [] a crime punishable by imprisonment

for a term exceeding one year.” 18 U.S.C. § 922(g)(1). This provision serves to keep

dangerous weapons out of the hands of individuals who have demonstrated a proclivity to



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“[dis]obey the government and its laws, whether or not they ha[ve] demonstrated a

propensity for violence.” Jackson, 69 F.4th at 502 (quoting Range v. Att’y Gen (Range I),

53 F.4th 262, 269 (3d Cir. 2022) (per curium), rev’d, Range v. Att’y Gen (Range II) 69 F.4th

96 (3d Cir. 2023) (en banc)).

              The constitutionality of this provision is long settled. The Second Circuit has

held as such in Bogle, 717 F.3d. at 281-82, as have all but one circuit to consider the issue.

See id. at 281 n.1 (collecting cases); Dru Stevenson, In Defense of Felon-in-Possession

Laws, 43 Cardozo L. Rev. 1573, 1577-79 & 1579 n.19 (same). The Supreme Court itself has

continuously reiterated the constitutionality of felon dispossession, even naming it as one of

several “presumptively lawful” regulations that would pass constitutional muster, see Heller,

554 U.S. at 626-27 & 627 n.26 (2008); see also McDonald, 561 U.S. at 786 (2010)

(reiterating Heller’s safe harbor for felon dispossession), and lower courts applying both

cases have treated them as if they were binding. See, e.g., United States v. Jimenez, 895

F.3d 228, 233 (2d Cir. 2018) (“We have . . . relied on this passage to uphold the federal ban

on ex-felon’s access to firearms and ammunition.”). While the defendant is correct that the

Supreme Court has never addressed this question directly, see Def.’s Mot. at 21-23, it has

routinely denied certiorari when given a chance to overturn the near unanimity among the

lower courts. See, e.g, Medina v. Barr, 140 S. Ct. 645 (2019), denying cert. to Medina v.

Whitaker, 913 F.3d 152 (D.C. Cir. 2019).

              The defendant contends that Heller’s and McDonald’s assurances have been

abrogated by the Court’s recent decision in Bruen. Presenting the prior pronouncements on

this issue as dicta, her Motion argues that the safe harbor for felon dispossession is no longer

good law. Def.’s Mot. at 22-23. This argument fails on several grounds.

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              For one, the defendant’s argument that the Supreme Court intended to

abrogate the safe harbors in Heller and McDonald has no support in the Bruen opinion. In

fact, the opinion seems to suggest exactly the opposite, going out of its way to announce that

it is entirely “consistent with Heller and McDonald,” 142 S. Ct. at 2122, and even

characterizes its analysis as a direct application of Heller and McDonald’s methodology. See

id. at 2128-29. Further, like prior cases, the Bruen opinion itself repeatedly characterizes the

right to keep and bear arms as one that belongs to “law-abiding citizens.” This

characterization—which the Court invokes “no fewer than fourteen times,” United States v.

Price, 2023 WL 1970251, at *2 (N.D. Ill. Feb. 13, 2023)—demonstrates that the Court never

intended to abandon its view of felon dispossession announced in prior cases. Bruen

concluded that overly restrictive state gun-control laws violate the constitutional rights of

“law-abiding citizens with ordinary self-defense needs.” 142 S. Ct. at 2150, 2156. Yet, the

defendant urges this court to summarily ignore this limiting language and stretch the

definition of this phrase to encompass a twice-convicted felon’s right to keep a small arsenal

of dangerous weapons. See Def.’s Mot. at 21. This argument is meritless, and such a

decision would itself be inconsistent with Bruen.

              The defendant further suggests that the Bruen Court’s treatment of concealed

carry licensing—which she views as inconsistent with Heller—demonstrates that the Court

has abandoned its reasoning in Heller. See Def.’s Mot. at 22-23. But these restrictions were

not included among Heller’s list of “presumptively lawful regulatory measures” and were




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only discussed briefly within the Court’s broader historical analysis.2 See Heller, 554 U.S. at

626-27 & 627 n.26. There is accordingly no indication that the Court viewed these as within

the same vein as felon-possession prohibitions. Indeed, the Court has made it quite clear that

it alone retains the prerogative of overturning its previous opinions, even if the reasoning

appears contradictory. E.g., Rodriguez de Ouijas v. Shearson/Am. Exp., Inc., 490 U.S. 477,

484 (1997) (“If a precedent of this Court has direct application in a case, yet appears to rest

on reasons rejected in some other line of decisions, the Court of Appeals should follow the

case which directly controls, leaving to this Court the prerogative of overruling its own

decisions”).

               While the constitutionality of § 922(g) is not specifically enunciated in the

Bruen majority opinion, each member of the majority, with the exception of Justice Barrett,

has joined a recent opinion endorsing the lawfulness of the provision. In Bruen itself, a

concurring opinion authored by Justice Kavanaugh and joined by Chief Justice Roberts—two

votes necessary to form the majority—specifically say that the majority’s opinion does not

undermine the safe harbor for felon dispossession, incorporating Heller’s assurance that

“[n]othing in our opinion should be taken to cast doubt on longstanding prohibitions on the

possession of firearms by felons . . . . ” Bruen, 142 S. Ct. at 2162 (Kavanaugh, J., joined by

Roberts, C.J., concurring) (quoting Heller, 554 U.S. at 636-37 & n.26). Justice Alito



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         The Court stated: “Although we do not undertake an exhaustive historical analysis
today of the full scope of the Second Amendment, nothing in our opinion should be taken to
cast doubt on longstanding prohibitions on the possession of firearms by felons and the
mentally ill, or laws forbidding the carrying of firearms in sensitive places such as schools
and government buildings, or laws imposing conditions and qualifications on the commercial
sale of arms.” Heller, 554 U.S. at 626-27. The Court never identifies restrictions on
concealed carry as falling within the Heller safe harbor.

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articulated a similar perspective as recently as 2020, writing that the Heller Court

“recognized that history supported the constitutionality of some laws limiting the right to

possess a firearm, such as laws . . . prohibiting possession by felons” in an opinion joined by

Justices Thomas and Gorsuch. N.Y. State Rifle & Pistol Ass’n v. City of New York, 140 S.

Ct. 1525, 1540-41 (2020) (Alito, J., joined by Thomas & Gorsuch, JJ., dissenting); see also

Bruen 142 S. Ct. at 2159 (Alito, J., concurring) (emphasizing the narrowness of the Bruen

holding). The three dissenting Justices in Bruen also noted that they read the majority

opinion as not disturbing the Heller safe harbor. See id. at 2189 (Breyer, J., dissenting)

(“Like Justice Kavanaugh, I understand the Court’s opinion today to cast no doubt on that

aspect of Heller’s holding”).

              Further, nothing in the Bruen opinion abrogates the Second Circuit’s prior

holdings in Bogle and its progeny, which incorporated the Heller safe harbor into binding

circuit precedent. See, e.g., Bogle, 717 F. 2d at 281; Jimenez, 895 F.3d at 231-34; Johnson v.

Chambers, 2021 WL 4484929 (2d Cir. Oct. 1, 2021). The panels in these cases correctly

viewed the Supreme Court’s pronouncements on felon dispossession as a significant and

unignorable part of the opinion. This reasoning was not abrogated by Bruen. Bogle, for

instance, did not engage in the once-popular means-end analysis rejected by Bruen.3 The

panel instead relied entirely on the safe harbor in Heller and McDonald, effectively

transforming it into binding circuit precedent. See United States v. Hampton, 2023 WL



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          Other circuits have also upheld § 922(g)(1) without engaging in means-end analysis,
albeit prior to Bruen. See United States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010);
United States v. Rozier, 598 U.S. 768, 771 (11th Cir. 2010) (per curium); United States v.
McCane, 573 F.3d 1037, 1047 (10th Cir. 2009).



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3934546, at *12 (S.D.N.Y. June 9, 2023) (“With Heller and McDonald still in full force after

Bruen, Bogle remains binding precedent within this [Second] Circuit on the constitutionality

of section 922(g).”). Judicial dicta, while not technically binding, “must be given

considerable weight” by lower courts, which are not free to “cavalierly disregard” it. See

United States v. Bell, 524 F.2d 202, 206 (2d Cir. 1975). The Second Circuit was correct to

rely on it in Bogle, and this circuit precedent remains binding law despite the defendant’s

claims otherwise. See United States v. Peguero, 34 F.4th 143, 158 (2d Cir. 2022) (“It is a

longstanding rule that a panel of [the Second Circuit] is bound by the decisions of prior

panels until such times as they are overruled either by an en banc panel of our Court or by

the Supreme Court.” (citation omitted)).

              Ultimately, there is every indication that Bruen is entirely consistent with prior

cases, and most other post-Bruen courts have held as such. While the Second Circuit has not

yet decided a Bruen challenge to § 922(g)(1),4 similar Bruen challenges have also failed in

this district, see, e.g., United States v. Augustin, No. 22-CR-18 (DG) (E.D.N.Y. Dec. 7,

2022) (oral opinion), as well as in the Southern District, see, e.g., United States v. King, No.

21-CR-2555 (NSR), 2022 WL 5240928 at *4-5 (S.D.N.Y. Oct. 6, 2022) (rejecting the

challenge as “meritless”).

              The lone court to find that an application of § 922(g)(1) violated the Second

Amendment was the Third Circuit in Range II, which overturned prior circuit precedent that

upheld felon-possession prohibitions as applied to the petitioner in that case. The Third




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        This issue is pending in the Circuit in United States v. Thawney, 22-1399 (2d Cir.)
and Zherka v. Garland, 22-1108 (2d Cir.).

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Circuit’s opinion in Range created a post-Bruen circuit split with the Eighth Circuit, which

had upheld § 922(g)(1) in the face of a Bruen challenge days earlier in Jackson, 69 F.4th at

495.

               The Third Circuit’s decision, however, ought to have no bearing on this Court.

To be sure, the Range opinion strikes down § 922(g)(1) as unconstitutionally applied—but it

does so narrowly, and under much different circumstances.

               The defendant in Range, for instance, was never convicted of a felony. The

crime at issue—making false statements in an application for food stamps—was classified as

a misdemeanor under Pennsylvania law and only fell within the scope of § 922(g)(1) because

it carried a possible sentence of up to five years’ imprisonment.5 Range II, 69 F.4th at 98-

99. He was sentenced to probation and never served any time in prison. Id. The Third

Circuit viewed this prior conviction as lacking the requisite severity to justify a deprivation

of his right to keep and bear arms. See id. at 102. (“We are confident that the Supreme

Court’s references to ‘law abiding, responsible citizens’ do not mean that every American

who gets a traffic ticket is no longer . . . protected by the Second Amendment”). This

reasoning is entirely inapplicable to this defendant, who has twice been convicted of serious

felonies.

               The Range II opinion itself acknowledges that its holding is “narrow,” limited

only to the application of § 922(g)(1) against the petitioner. Id. at 106. It does not strike




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        Section 922(g)(1) provides that anyone convicted of “a crime punishable by
imprisonment for a term exceeding one year” to possess a weapon or ammunition. Because
dishonesty on a food stamps application was punishable by up to five years’ imprisonment,
§ 922(g)(1) prohibited the defendant in Range from owning a weapon.

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down § 922(g)(1) as entirely unconstitutional, and leaves open the possibility that others

convicted of more serious felonies could be stripped of their Second Amendment rights. A

concurring opinion authored by Judge Ambro adopts this same reading of the majority

opinion, writing that “it speaks only to [Range’s] situation, and not to those of murderers,

thieves, sex offenders, domestic abusers, and the like.” Id. at 110. (Ambro, J., joined by

Greenaway & Montgomery-Reeves, JJ., concurring).6

               While non-binding in the Second Circuit, Range II’s application of Bruen is

also unpersuasive. As noted by several of the concurring and dissenting judges, the

majority’s historical inquiry was much narrower than Bruen requires. As pointed out by

Judge Shwartz, the Range majority “disregards important aspects of Bruen,” demanding that

the government “identify a historical crime, including its punishment, that mirrors [the

defendant’s] conviction.” See id. at 114 (Shwartz, J., dissenting). Bruen requires only “a

well-established and representative historical analogue, not a historical twin,” Bruen, 142 S.

Ct. at 2111, and Range II’s inquiry disregards many analogous examples that easily satisfy

Bruen’s burden. See id. at 2133 (“analogical reasoning under the Second Amendment is

neither a regulatory straightjacket nor a regulatory blank check . . . even if a modern-day

regulation is not a dead-ringer for historical precursors, it still may be analogous enough to

pass constitutional muster.”) This reading of Bruen thus imposes an unworkable standard

that has little basis in the text of the Bruen opinion as well as prior cases. Importantly, at




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         Judge Ambro also indicates that he reads the majority opinion as not disturbing the
Heller safe harbor. See Range II, 2023 WL 3833404 at *11 (Ambro, J., concurring)
(recognizing that felon dispossession remains “presumptively lawful”).

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least one post-Range District Court in this circuit has dismissed it in light of Bogle. See

Hampton, 2023 WL 3934546, at *10-*13 & n.14.

       B.      Prohibitions on felon possession are consistent with the nation’s history and
               tradition.

               Bruen replaced the once-popular means-end analysis utilized by many circuit

courts, including the Second Circuit, see Jimenez, 895 F.3d at 232, with a test that requires

the government to “affirmatively prove its firearms regulation is part of the historical

tradition that delimits the outer bounds of the right to keep and bear arms.” Bruen, 142 S. Ct.

at 2127. In cases where the Second Amendment encompasses an individual’s conduct, the

government bears the burden to “justify its regulation by demonstrating that it is consistent

with the Nation’s historical tradition of firearms regulation.”7 Id. at 2130.

               As to the scope of the inquiry, Bruen instructs that if a law is intended to

rectify a “general societal problem” dating back to the Founding-era, the government must

identify appropriate historical analogues that similarly burdens the right to armed self-

defense. Id. at 2131-33. The Bruen Court, as well as the Heller Court before it, both

considered a range of historical materials that focused on English history, American history

before and just after the Founding, as well as certain post-ratification processes into the early

nineteenth century. See id. at 213; Heller, 554 U.S. at 595. An examination of these



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         It is unclear that this historical analysis is even necessary for felon-in-possession
laws. Bruen requires the government to identify a reasonable comparable historical analogue
in an inquiry into “how and why the regulations burden a law-abiding citizen’s right to
armed self-defense.” Bruen, 142 S. Ct. at 2133 (emphasis added). By definition, because
felons do not abide by the law, felon-in-possession laws cannot burden the right of a law-
abiding citizen to keep and bear arms. See Range I, 53 F.4th at 271-72. Such an inquiry
would thus be unnecessary if felons are not part of the “people” protected by the Second
Amendment. See Range II, 69 F.4th at 114 (Shwartz, J., dissenting).

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materials demonstrates that there is a significant number of close historical analogues for

prohibiting felons from owning weapons.

              1.      The text of the Second Amendment and its historical context do not
                      grant convicted felons the right to keep and bear arms.

              As discussed above, felons do not fall within the definition of “people”

protected by the Second Amendment. The Amendment’s protections extend to “ordinary,

law-abiding citizens,” Bruen, 142 S. Ct. at 2134, who are entitled to be “members of the

political community Heller, 554 U.S. at 580. The right of convicted felons to keep and bears

arms is not protected by the Second Amendment. Jimenez, 895 F.3d at 238.

              The same has been true throughout American history. Congress and state

legislatures have historically had wide latitude to exclude felons from the “political

community” as a result of their convictions, and many of these restrictions have been matters

of settled law for decades. For instance, many felons lose their right to serve on a jury,

receive government benefits, hold public office, travel freely, or even the right to vote. See,

e.g., Richardson v. Ramirez, 418 U.S. 24 (1974) (upholding the disenfranchisement of

felons). The prohibition on felony possession fits squarely within this vein of acceptable

collateral consequences for convicted felons. Because the defendant is not a “law-abiding

citizen” and has “demonstrated disrespect for legal norms of society,” she does not enjoy the

protections of the Second Amendment. See Jackson, 69 F.4th at 504.

              2.      Felon disarmament is well-supported by a long tradition of disarming
                      certain individuals viewed as threats to the public order.

              There is ample historical evidence for disarming individuals viewed as threats

to public order and stability. While the defendant concludes otherwise, much of her analysis

fails to properly embody the historical inquiry required by Bruen. Instead of analyzing the


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record within the historical context, she searches instead for a direct replica of § 922(g)(1)

from the Founding era. But Bruen does not require a replica—the government only needs to

“identify a well-established and representative historical analogue, not a historical twin,”

Bruen, 142 S. Ct. at 2111. The defendant’s inquiry is far too narrow, attempting to define

“historical analogue” in a manner so restrictive that that no example could possibly meet it.

               For instance, the defendant’s Motion claims that historians have been unable

to locate any laws prohibiting felon possession, and that “none exist,” as evidence of a

historical tradition that lacks an appropriate analogue for § 922(g)(1). Def.’s Mot. 15-16.

Even assuming the accuracy of this statement, “felony,” as it is commonly understood today,

is a relatively recent innovation and was certainly understood differently at the time of the

founding. William Blackstone defined “felony” as “an offense which occasions a total

forfeiture of either lands, or goods, or both, at the common law, and to which capital or other

punishment may be superadded, according to the level of guilt.” See 4 William Blackstone,

Commentaries on the Laws of England 95 (Harper ed. 1854). As modern criminal codes did

not yet exist, courts instead relied on traditional common-law principles, and punishment was

often swift and harsh. “[T]he standard penalty for such crimes” was capital punishment, even

for some offenses that seem relatively minor today. Baze v. Reese, 553 U.S. 35, 94 (2008)

(Thomas, J., concurring) (citation omitted). As modern, long-term prison facilities did not

develop until much later, today’s understanding of “felony” as a specific and clearly

delineated category of crimes makes little sense in the historical context.8



       8
          The understanding of “felony” changed over time, generally as officials gained more
flexibility in their ability to punish criminals. By the mid-nineteenth century, “felony” grew
to encompass both traditional common-law felonies plus additional crimes designated as

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               Accordingly, the concept of banning felons from possessing firearms would

have been by viewed as redundant by early Americans.9 Disarmament is inherent in crimes

punished by death or total forfeiture, and it is hard to imagine that felon dispossession would

have been viewed as an impermissible punishment for a crime, given the regularity with

which much harsher sentences were doled out. See Medina, 913 F.3d at 158-59 (“it is

difficult to conclude that the public, in 1791, would have understood someone facing death

and estate forfeiture to be within the scope of those entitled to possess arms”); Don B. Kates,

Jr., Handgun Prohibition and the Original Meaning of the Second Amendment, 82 Mich. L.

Rev. 204 (1983) (“Felons simply did not fall within the benefits of the common law right to

possess arms . . . We may presume that persons confined in gaols awaiting trial on criminal

charges were also disbarred from the possession of arms . . . .”).

               The defendant’s inquiry is far too narrow. Bruen requires only a “well-

established and representative historical analogue, not a historical twin,” and the routine

forfeiture of property, including arms, from felons certainly fits the bill.10 The defendant




felonies by statute. See Will Tress, Unintended Collateral Consequences, 57 Cleveland State
L. Rev. 461, 464-65 (2009) (recounting the historical understanding of felonies); Medina 913
F.3d at 158 (discussing the evolution of common-law felonies and the disappearance of
forfeiture as punishment for serious crimes).
       9
          Because criminal codes are themselves a relatively modern innovation, the
defendant’s search for “Founding-era felon-disarmament laws” must take account of the
common-law context of the early-American legal system. See Saul Cornell, Nathan DeDino,
A Well Regulated Right: The Early American Origins of Gun Control, 73 Fordham L. Rev.
487, 501 (2004) (“To properly understand how [early] American law dealt with firearms, one
must . . . reconstruct the neglected context of the common-law . . . .”).
       10
         As mentioned previously, Bruen requires the government to identify a historical
analogue that impose a comparable burden on a “law-abiding citizen’s right to armed self

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searches for a historical twin, looking only for a Founding-era replica of § 922(g)(1) and

ignoring all reasonably analogous regulations. Notwithstanding the lack of necessity for

such laws, the power certainly existed in the early United States to ban felons from owning

weapons, as the defendant herself seems to acknowledge. See Def.’s Mot. at 18

(acknowledging that “state legislatures had the power to disarm people with felony

convictions”).

                 Thus, the Bruen inquiry with regards to § 922(g)(1) ought to focus instead on

the broad history of disarmament of individuals who were viewed as general threats to the

public order. There are many examples of this in both English and early American history.

                 The “predecessor to our Second Amendment” was the 1689 English Bill of

Rights, which protected the right to bear arms. Bruen, 142 S. Ct. at 2141 (quoting Heller 554

U.S. at 593). Parliament enacted the Bill of Rights in 1689 and around the same time

enacted a number of additional regulations on the possession of weapons. This included

outright bans for members of certain groups, indicating that the text of the English Bill of

Rights did not prohibit certain forms of dispossession. In the midst of religious tension, for

example, the Crown banned practicing Catholics from “hav[ing] or keep[ing]” any kind of

“Arms[,] Weapons[,] Gunpowder[,] or Ammunition” without special permission. See 1 W.

& M., Sess. 1, c.15, in 6 The Statutes of the Realm 71-73 (1688). The provision reflected

Parliament’s view that this group would have disrespect for and disobedience to the Crown

and applied to all Catholics, regardless of any risk of violence. See Range II, 69 F.4th at




defense.” Bruen, 142 S. Ct. at 2133. As property forfeiture includes the seizure of arms, it
certainly imposed as great a burden on the right to keep and bear arms.

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120-22 (Krause, J., dissenting) (providing additional context). In enacting § 922(g)(1),

Congress employed similar reasoning, disarming “persons who have demonstrated disrespect

for legal norms of society.” Jackson, 69 F.4th at 504.

              In the United States, early legislatures passed laws that criminalized gun

possession by those whose actions demonstrated a disrespect for the law, a step viewed as

necessary to protect “an orderly society and compliance with its legal norms.” Jackson, 69

F.4th at 503 (quoting Range I, 53 F.4th at 281-82). During the Revolution, for example, the

Continental Congress recommended that state governments disarm individuals with

questionable loyalty to the United States, a call that was heralded by the legislatures of

several of the original thirteen states. 1 Journals of the Continental Congress, 1774-1778,

285 (1906); see Joseph Greenlee, The Historical Justification for Prohibiting Dangerous

People from Possessing Arms, 20 Wyo. L. Rev. 249, 262-65 (2020) (discussing in detail the

seizure of arms from Revolutionary-era Loyalists in several colonies). Dispossession was

also imposed as penalty for relatively minor offenses, such as hunting illegally, by early state

legislatures. See Act of Apr. 20, 1745, ch. III, 23 The State Records of North Carolina 218-

19 (1904); see also Jackson, 69 F.4th at 503, 505 (discussing other examples).

              In addition, many of the debates surrounding the ratification of the

Constitution also illustrate that early Americans believed that potentially dangerous

individuals forfeited their right to keep and bear arms. The famous minority report from the

Pennsylvania delegation—later viewed by the Heller Court as “highly influential” in the final

language of the Second Amendment, 554 U.S. at 604—stated that the government cannot

infringe one’s right to keep and bear arms, “unless for crimes committed, or real danger of

public injury from individuals.” Jackson, 69 F.4th, at 503 (emphasis added). This

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demonstrates that “members of the Founding generation viewed [c]rimes committed—

violent or not—[as] . . . an independent ground for exclusion from the right to keep and bear

arms.” Binderup v. Att'y Gen. United States, 836 F.3d 336, 349 (3d Cir. 2016); see also N.Y.

State Rifle & Pistol, 140 S. Ct. at 1540-41 (Alito, J., joined by Thomas & Gorsuch, JJ.,

dissenting) (recognizing that “history supported the constitutionality of some laws limiting

the right to possess a firearm, such as laws banning firearms from certain sensitive locations

and prohibiting possession by felons and other dangerous individuals”).

              As these laws—for better or worse—sought to disarm individuals viewed as

threats to the public order, they are comparable to § 922(g)(1)’s prohibition on felon

possession. While the changing understanding of felonies over time make a historical

duplicate impossible to cite, Bruen requires only a “comparable tradition of regulation” that

“impose[s] a comparable burden” to Second Amendment rights. Bruen, 142 S. Ct. at 2131-

33. Because early-American legislatures possessed and routinely utilized the power to ban

certain groups from owning weapons, § 922(g)(1)’s prohibition on felon possession is

“analogous” to historical examples, Jackson, 69 F.4th, at 504, and clearly passes

constitutional muster. Courts that have undergone extensive historical inquiries have

concluded the same. See, e.g., United States v. Rowson, 2023 WL 431037, at *17 (S.D.N.Y.

Jan. 26, 2023) (explaining that “post-Bruen decisions addressing the federal felon-in-

possession statute” have “uniformly up[held] that statute . . . ”); United States v. Ware, 2023

WL 3568606 (S.D. Ill. May 19, 2023) (finding consistency with history and tradition);

Campiti v. Garland, 2023 WL 143173, at *4 (D. Conn. Jan. 10, 2023) (same); Jackson, 69

F.4th at 503-05 (same).




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              The lone outlier is the Third Circuit in Range II, which narrowly found that

§ 922(g)(1)’s application to the defendant in that case violated his Second Amendment

rights. See Range II, 69 F.4th at 105-06. The court there concluded that there was no

historical analogue for the disarmament of individuals convicted of minor offenses, and thus

the application of § 922(g)(1) to Range was unconstitutional. This analysis, however, does

not extend to the defendant for many of the reasons discussed above. For example, unlike in

Range, this defendant was convicted of several serious felonies and has served lengthy prison

sentences—the threat she poses to the public safety is evident.

              The only post-Bruen circuit to review § 922(g)(1) as applied to an individual

convicted of more serious crimes was the Eighth Circuit in Jackson, which examined the

historical record and found ample support for felon dispossession. There, the defendant had

been convicted of multiple felonies and served a lengthy prison sentence. See id. at 498.

Because of the serious nature of his prior convictions, the Eighth Circuit’s reasoning in

Jackson is certainly more analogous to the present case than the narrow holding in Range II.

In fact, the case appears to be an aberration in an otherwise consistent line of jurisprudence—

as far as the government is aware, no court in the country prior to Range II had found any

application of § 922(g)(1) as unconstitutional, despite countless opportunities to do so.




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                                       CONCLUSION

                For the reasons set forth above, the Court should deny the Motion.

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                                                   Respectfully submitted,


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